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                        THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION


                                                 §
AMERICA FIRST POLICY INSTITUTE, et al.,          §
                                                 §
                        Plaintiffs,              §
               v.                                § Civil Action No.: 2:24-cv-00152-Z
                                                 §
JOSEPH R. BIDEN, JR., in his official capacity   §
as President of the United States, et al.,       §
                                                 §
                       Defendants.               §
                                                 §


   PLAINTIFFS’ UNOPPOSED MOTION FOR LEAVE TO EXCEED PAGE LIMITS
       FOR MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR
     TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION



       Plaintiffs respectfully move for leave to file a Memorandum supporting Plaintiffs’ Motion

for Temporary Restraining Order and Preliminary Injunction exceeding the standard 25-page limit.

See L.R. 7.2(b), 7.2(c). Pursuant to Local Rule 7.1(a), all parties consent to this Motion.

       In support of this Motion, Plaintiffs state as follows:

       Plaintiffs’ First Amended Complaint is 98 pages, including 62 pages of facts and 11 counts.

Plaintiffs are pressing only six of those 11 counts in Plaintiffs’ Motion for Temporary Restraining

Order and Preliminary Injunction. However, each of those six counts is governed by a different

body of law, a couple of which are fact-intensive. For instance, there are multifarious ways

controlling precedent finds agency actions arbitrary and capricious. See, e.g., Ohio v. EPA, 144

S. Ct. 2040, 2053–54 (2024); Dep’t of Homeland Sec. v. Regents of Univ. of Cal., 591 U.S. 1, 16

(2020); Dep’t of Comm. v. New York, 588 U.S. 752, 776, 785 (2019); Texas v. Biden, 809 F.3d

134, 173–75 (5th Cir. 2015), aff’d by an equally divided Court, 579 U.S. 547, 548 (2016).
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Consequently, Plaintiffs required considerable space to review Defendants’ many actions

implementing the EO. So too, Plaintiffs required extended discussion to explain which agency

actions implementing the EO satisfy the Fifth Circuit’s test for being substantive rules requiring

notice and comment under the Administrative Procedure Act, 5 U.S.C. § 706(2)(D), and thus

should be held unlawful for failure to observe procedural requirements. See, e.g., Texas, 809 F.3d

at 176–78. Adequately setting forth the rules of decision for each of those counts and applying

them to the multitude of relevant facts required considerable space.

        The decision to permit the filing of a brief in excess of the 25-page limitation rests within

this Court’s discretion. See L.R. 7.2(c). The Court has not hesitated to do so when there is an

adequate showing of “extraordinary and compelling reasons.” See, e.g., Texas v. Biden, No. 2:21-

cv-00067-Z (May 21, 2021), ECF No. 37; All. for Hippocratic Medicine v. FDA, 2:22-cv-00223-

Z (Jan. 2, 2023), ECF No. 15. The Court has even on occasion found that an amicus brief meets

this standard. All. for Hippocratic Medicine, No. 2:22-cv-00223-Z (Jan. 2, 2023), ECF No. 101

(granting Motion for Leave to File Brief and to Exceed Page Limit, ECF No. 97).

        This Court should exercise its discretion to grant Plaintiffs’ Motion. Given the complex

and elaborate fact pattern here and the need to apply a half-dozen bodies of law to that lengthy

factual record, Plaintiffs request leave to exceed the standard page limit.            These are thus

“extraordinary and compelling reasons” to grant Plaintiffs’ motion. See L.R. 7.2(c). The brief is

50 pages, excluding the cover sheet, table of contents, table of authorities, and certificate of service.

                                           CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court grant this Motion

to file a brief in excess of the page limitation.




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September 10, 2024                        Respectfully submitted,

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                            CERTIFICATE OF CONFERENCE

       On September 9, 2024, I conferred with Alexander Sverdlov, counsel for Defendants

regarding the relief requested herein. Defendants consent to Plaintiffs’ request. As such, this

Motion is presented to the Court as unopposed.


                                                     /s/ Kenneth A. Klukowski
                                                     Kenneth A. Klukowski

                                                     Counsel for Plaintiffs



                               CERTIFICATE OF SERVICE

       On September 10, 2024, the foregoing document was filed with the Clerk of Court for the

United States District Court, Northern District of Texas using the Court’s CM/ECF system. I

hereby certify that I have served the document on all counsel of record by manner authorized by

Federal Rule of Civil Procedure 5(b)(2) (ECF system).


                                                     /s/ Kenneth A. Klukowski
                                                     Kenneth A. Klukowski

                                                     Counsel for Plaintiffs




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